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                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       LARRY CHARLES INMAN                                                          DISTRICT JUDGE:      Robert J. Jonker

    CASE NUMBER                      DATE                 TIME (begin/end)                PLACE                 INTERPRETER
      1:19-cr-117                    8/18/22           3:58 - 4:21 p.m.             Grand Rapids




                                                              APPEARANCES
Government:                                              Defendant:                                       Counsel Designation:
Christopher O'Connor / Ronald Stella                     Christopher Cooke                                Retained

             TYPE OF HEARING                                  DOCUMENTS                                 CHANGE OF PLEA
    Arraignment:                                   Defendant's Rights                       Charging Document:
       mute             nolo contendre                                                          Read          Reading Waived
                                                   Waiver of Indictment
       not guilty       guilty                                                              Guilty Plea to Count(s)
                                                   Other:
    Final Pretrial Conference                                                               of the
    Detention        (waived     )
                                                                                            Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                          Court to Issue:

    Bond Violation                                 Order of Detention                           Presentence Report Ordered
    Change of Plea                                 Notice of Sentencing                         Presentence Report Waived
                                                   Order Appointing Counsel                     Plea Accepted by the Court
    Sentencing
    Trial
                                               ✔   Other:                                       Plea Taken under Advisement
                                               Order
✔   Other: Status Conference                                                                    No Written Plea Agreement

                                                               SENTENCING

Imprisonment:                                                         Plea Agreement Accepted:         Yes     No

Probation:                                                            Defendant informed of right to appeal:        Yes    No
Supervised Release:                                                   Counsel informed of obligation to file appeal:      Yes     No

Fine: $                                                               Conviction Information:
Restitution: $                                                            Date:
                                                                          By:
Special Assessment: $
                                                                          As to Count (s):

ADDITIONAL INFORMATION:




                    CUSTODY/RELEASE STATUS                                                BOND AMOUNT AND TYPE

                                                                          $

CASE TO BE:                                                           TYPE OF HEARING:

Reporter/Recorder:         Paul Brandell                                  Case Manager:      S. Bourque
